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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

  LAURA GRAVES,

          Plaintiff,                                    Case No.: 1:23-cv-04417

  v.                                                    Judge Robert W. Gettleman

  THE PARTNERSHIPS AND                                  Magistrate Judge Jeffrey Cole
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A”,

          Defendants.



                              SATISFACTION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on August 24, 2023 [29] in favor

of Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this judgment

and hereby fully and completely satisfy the same as to the following Defendants:

               NO.                                  DEFENDANT
                89                                    Wrewing


         THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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                 20 , 2023
DATED: November __                              Respectfully submitted,




                                                Keith A. Vogt, Esq. (Bar No. 6207971)
                                                Keith Vogt. Ltd.
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                                                Chicago, Illinois 60604
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                                                E-mail: keith@vogtip.com

                                                ATTORNEY FOR PLAINTIFF(S)




                                                          20 of November, 2023.
Subscribed and sworn before me by Keith A. Vogt, on this __

Given under by hand and notarial seal.



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                                         STATE OF __       (_(_t_\_lA._A)
                                                                   __'�S:,,,____
                                         COUNTY OF ----------




                                                        GRISELDA DELGADO
                                                         OFFICIAL SEAL
                                           • Notary Public, State of Illinois
                                              My Commission Expires
                                                  October 05, 2026
